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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

ERNEST J. GLYNN, et al.,                               )
                                                       )
               Plaintiffs,                             )
v.                                                     )       No. 2:19-cv-176-NT
                                                       )
MAINE OXY-ACETYLENE                                    )
SUPPLY CO., et al.,                                    )
                                                       )
               Defendants.                             )

                             Maine Oxy Defendants’ Reply on Motion
                               To Impose Sanctions for Spoliation

       Defendants Maine Oxy-Acetylene Supply Co. (Maine Oxy), Daniel Guerin, and Bryan

Gentry (collectively, Maine Oxy Defendants) filed a motion to impose sanctions on Plaintiff

Jeffrey MacDonald for spoliation. ECF No. 185 (Motion). MacDonald opposed that motion. ECF

No. 200 (Opp.). The Maine Oxy Defendants submit this reply in response to that opposition and

in further support of their motion to impose sanctions.

       MacDonald’s opposition is notable for what is missing. MacDonald submits almost no

evidence in opposition to the motion. Instead, he submits a handful of curated emails between

counsel in February–April 2022, ECF Nos. 200-2 – 200-8; the depositions of different plaintiffs,

ECF Nos. 200-9 – 200-10; and his counsel’s declaration, which, in turn, does not provide any

supporting evidence, ECF No. 200-1. In other words, MacDonald’s opposition consists almost

entirely of his counsel’s 2022 characterization of the record concerning spoliation that dates back

to 2013. When the Court considers the actual evidence submitted, the conclusion that substantial

relevant evidence was lost becomes inescapable.

       MacDonald does not dispute the long line of authority that allows the Court to impose

appropriate sanctions for evidence that is lost either because a party failed to preserve the evidence,
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or because a party intentionally destroyed the evidence. See Motion 3–4 (collecting cases). Instead,

MacDonald cites only cases alleging intentional destruction of evidence, and claims that sanctions

are inappropriate because he claims there is no evidence he intentionally destroyed evidence. See

Opp. 6. Thus, MacDonald does not even address his admitted failure to preserve electronically-

stored information (ESI). See ECF No. 185-9 (MacDonald Deposition (Dep.) 196) (“So I deleted

my email, Peter, and I had it going through my settings.”); id. at 201 (“I didn't understand the

importance of all – a lot of this, and I can't say that I took any big steps to preserve anything.”).

This testimony renders, at best, misleading MacDonald’s claim (Opp. 7) that he testified

“unequivocally” he did not destroy “relevant” evidence (in response to scripted questions from his

counsel).

       MacDonald claims that this motion was filed in retaliation for his claims that Maine Oxy

shredded relevant documents in this case. Opp. 1. Although patently false, it demonstrates that

MacDonald knew there was a duty to preserve evidence years ago. Indeed, the Court should infer

based on MacDonald’s longstanding intention to file suit and his fixation on Maine Oxy’s record

retention practices that he intentionally deleted the missing evidence. At a minimum, his

accusations thoroughly undermine the credibility of his testimony that he “didn’t understand” the

importance of preserving email. See Motion 9–10 (citing record).

       MacDonald likewise does not dispute that he was planning on filing suit as far back as

October 2013, and that he certainly was contemplating doing so by January 2016 when his counsel

prepared his “opus” to the send to U.S. Department of Labor (DOL) detailing his claims of ERISA

violations against the Maine Oxy Defendants. See Motion 5–6 (citing record). He does not—and

cannot—dispute that his duty to preserve evidence dates back years. Thus, his failure even to

acknowledge the dearth of evidence in the form of communications prior to 2019 based on a review




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of all of the documents he produced is telling. See ECF No. 185-2 (Lia Pereira Declaration (Dec.)

¶ 22) (analyzing MacDonald’s document production); see also id. ¶¶ 16–21, 25 (describing other

missing evidence).

       In arguing that there was no spoliation, MacDonald begins his discussion of the facts on

February 15, 2021, when the Maine Oxy Defendants filed a motion to consolidate this case with

the virtually identical lawsuit filed by the DOL. See Opp. 2. This means that MacDonald ignores

the fact that he had only produced 81 pages of documents as part of his initial disclosures in

October 2019 (including only 4 emails), and that he did not produce any additional documents in

2019, 2020, or 2021 in response to two document requests. See Motion 1–2 (citing record).

       Although MacDonald’s now claims that the obligation to produce documents from the

Glynn plaintiffs was lateraled to the DOL following consolidation of the two cases, see Opp. 2

(citing Thomas Douglas Dec. ¶¶ 2, 4), the actual record demonstrates otherwise. When the Glynn

plaintiffs did not produce any documents in response to the second document request in October

2021, MacDonald’s counsel confirmed in writing twice that they had produced all of the

documents in their possession and had not withheld any documents under a claim of privilege.

ECF No. 185-5 at 3, 5. Defense counsel sent a confirming email about the telephone call with

MacDonald’s counsel, id. at 1, and he did not respond to “clarify” with any of the points now

contained in his declaration about that telephone call. See ECF No. 200-1 (Douglas Dec. ¶ 3).

       MacDonald’s counsel flatly asserts that the DOL, in fact, produced the requested

documents. See Opp. 3 (citing Douglas Dec. ¶ 5). The evidence does not support that assertion.

MacDonald does not—and cannot—dispute:

              No communications between MacDonald and the other three Glynn Plaintiffs were
               produced unless later forwarded to the DOL, meaning that any communications
               among the four of them alone would not have been produced;




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               No communications between MacDonald and current or former Maine Oxy
                employees were produced unless later forwarded to the DOL;
               Virtually no communications with anyone prior to 2019 were produced;
               MacDonald only produced 114 of the 215 communications between himself and
                the DOL that the DOL produced.

Pereira Dec. ¶¶ 4, 15–25. Although MacDonald dismisses this explication of his document

production as “speculation,” see Opp. 7, he does not point to a single document that he produced

in discovery to show that this analysis of his document production is incorrect. Similarly,

MacDonald’s explanation that he preferred telephone communications (Opp. 7–8) doesn’t explain

what happened to the 101 emails to the DOL that he failed to produce.

       MacDonald does not actually dispute that almost all of his documents were produced in

March 2022, over two years after they were requested. Although he claims that the documents

were sent “exactly as class counsel received” them, Opp. 3, he does not dispute that they were not

sent in the manner MacDonald maintained them, which is what the rules require, and he does not

dispute that the documents produced in early March 2022 were unusable because they lacked basic

information, such recipient information. See Pereira Dec. ¶¶ 12–13. Thus, almost all of

MacDonald’s documents were not produced until March 24, 2022—a week before the end of

discovery—and certainly not for the “third time” as claimed in the Opposition. See Opp. 4.

       Despite the fact that MacDonald’s document production was over two years late, that is

not the reason for this motion. Instead, this motion was necessitated because it’s now evident that

MacDonald failed to preserve or intentionally deleted numerous relevant communications.

MacDonald’s failure to produce documents (after his counsel wrote twice to say he had produced

everything) only became apparent once the DOL was compelled to produce additional documents

in early 2022, and the DOL provided hundreds of communications with MacDonald that he never

produced. See Motion 2 (citing record).



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       Rather than “raising an entirely new set of issues” in March 2022, Opp. 4, the Maine Oxy

Defendants used the specific documents MacDonald actually produced at the end of discovery in

March 2022 to illustrate again precisely the types of information that had never been produced,

but should have been, by MacDonald, such as communications with current and former Maine

Oxy employees by the self-proclaimed “rabble-rouser”. See ECF No. 185-8 (complete email

chain); ECF No. 185-13 (“rabble-rouser” email). In response, MacDonald’s counsel claimed that

MacDonald now has produced all of the documents in his possession. See ECF No. 185-8 at 1–2.

       Because MacDonald claims that he has produced everything in his possession (other than

the 2016 “opus” that he withheld under a claim of work product, but the DOL has now produced),

this is not a discovery dispute. If MacDonald is to be believed, there is nothing to compel. In the

notice filed with the Court, the Maine Oxy Defendants stated that they wanted to alert the Court

concerning the spoliation issue before the end of discovery, but it was not a discovery issue:

       Because spoliation is not a discovery issue, because we do not yet have the
       plaintiffs' deposition transcripts, and because this issue will involve discussion of
       several hundred documents never produced by class plaintiffs, we seek a briefing
       schedule to tee this issue up for the Court's consideration.

ECF No. 157. Although MacDonald claims that Magistrate Judge Nivison “expected” the Maine

Oxy Defendants to file a discovery dispute notice on this issue, see Opp. 5, no such order was

issued and MacDonald does not provide a transcript of the hearing. Suffice it to say, our

recollection of that conference differs.

       This is not a discovery dispute. MacDonald’s counsel has represented that MacDonald has

produced everything in his possession. But what he has produced is woefully inadequate. Courts

in this district do not use the discovery dispute apparatus to address spoliation concerns. See, e.g.,

Vesper Maritime Ltd. v. Lyman Morse Boatbuilding, Inc., 502 F. Supp. 3d 551 (D. Me. 2020).




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       Similarly, the notion that the Maine Oxy Defendants jumped the gun by filing this motion

cannot be taken seriously. They have been seeking relevant documents in this litigation since

October 2019. Although no additional documents were produced in response to document requests

served in October 2019 and June 2021, they took MacDonald’s counsel at his word in September

2021 that everything had been produced and that nothing had been withheld under a claim of

privilege. When those representations were belied by the DOL’s belated document production in

January 2022, they again sought documents from the Glynn Plaintiffs. After MacDonald’s counsel

again represented in April 2022 after the end of fact discovery that MacDonald had produced

everything in his possession, they filed this motion. The Maine Oxy Defendants have waited long

enough.

       MacDonald also takes the Maine Oxy Defendants to task for filing an “unseemly number

of discovery dispute requests” in this litigation. Opp. 10. It is unfortunate that we have been forced

to file these discovery dispute requests, but they were necessitated by Plaintiffs’ repeated failure

to comply with their discovery obligations. The Maine Oxy Defendants have prevailed in whole

or in part on every discovery dispute they filed in this case; in contrast, the sum total of the

discovery disputes filed by Plaintiffs is that the Court ordered the production of a single document

that the Maine Oxy Defendants had withheld as irrelevant. ECF No. 161.

       In the final analysis, MacDonald’s deposition testimony, coupled with a careful review of

the documents he produced, leads indubitably to the conclusion that he did nothing to preserve

relevant evidence long after he began contemplating litigation in 2013, that a reasonable inference

can be drawn that he destroyed relevant evidence, that numerous documents were lost or destroyed,

and that the Maine Oxy Defendants were prejudiced by this spoliation. See Motion 6–10.

MacDonald attempts to distract attention from his failings by alleging that Maine Oxy kept secret




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the details of a 2012 sale of its stock, and that Guerin coerced Plaintiffs into surrendering their

stock (Opp. 8–9), but neither of these allegations have anything to do with MacDonald’s failure to

preserve relevant evidence. Once the Court applies the undisputed law to the actual record

evidence, it should be apparent that sanctions are in order.

       The Maine Oxy Defendants respectfully request that their motion to impose sanctions for

spoliation be granted.

Dated: April 27, 2022                         Respectfully submitted,

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